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                          STATE OF MICHIGAN
                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JAMES BYERS,

       Plaintiff,
v.

HYKEEM A. SIMMONS and
WESTERN EXPRESS, INC.,

       Defendants.
                                                 /

 NOLAN & SHAFER, PLC                    SCOPELITIS, GARVIN, LIGHT,
 By: Matthew G. Swartz (P75257)         HANSON & FEARY
 40 Concord Avenue                      By: Michael J. Tauscher (P31817)
 Muskegon, MI 49442                     100 West Big Beaver, Suite 200
 (231) 722-2444                         Troy, MI 48084
 (231) 722-8304 – Fax                   (313) 237-7400
 mgswartz@wemakeitright.com             (313) 963-7425 – Fax
 Attorneys for Plaintiff                mtauscher@scopelitis.com
                                        Attorney for Defendants

                                                 /

                           NOTICE OF REMOVAL

 TO:    Matthew G. Swartz (P75257)   Michael J. Tauscher (P31718)
        Nolan & Shafer, PLC          Scopelitis, Garvin, Light, Hanson & Feary
        40 Concord Avenue            100 West Big Beaver, Suite 200
        Muskegon, MI 49442           Troy, MI 48084
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      Defendants, Hykeem A. Simmons and Western Express, Inc., file this Notice

of Removal of the above-entitled action to the United States District court for the

Western District of Michigan, and in support thereof states as follows:

      1.     On or about September 23. 2021, Plaintiff commenced a civil action in

the 14th Circuit Court, Muskegon, Michigan, styled, James Byers v. Hykeem A.

Simmons and Western Express, Inc.,, Case No. 21-003984-NI; (See Exhibit 1,

Summons and Complaint). Said Exhibit 1 comprises all of the processes, pleadings

and orders, which are on file in state court.

      2.     Western Express, Inc. was served with a copy of the Complaint on or

about October 5, 2021, in Nashville, Tennessee. This Notice of Removal is filed within

thirty (30) days of service of the Complaint upon and is therefore, timely filed

pursuant to 28 U.S.C. §1446(b).

      3.     Based upon the allegations contained in the Complaint, the above-

entitled action is a civil suit of which this Court has original jurisdiction under 28

U.S.C. §1332 because diversity of citizenship exists between the parties.

      4.     Plaintiff’s Complaint alleges that Plaintiff is a resident of the City of

Norton Shores, County of Muskegon, Michigan, and thus is a citizen of Michigan; and

further alleges that Defendant Hykeem A. Simmons is a resident of Nashville,

Tennessee; the complaint further alleges that Western Express, Inc. is a Tennessee

Corporation. (See Exhibit 1, Complaint ¶¶ 1 and 2).

      5.     Defendant Western Express, Inc. is a Tennessee Corporation with its

principal place of business in Nashville, Tennessee and is thus a citizen of Tennessee.



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      6.     Hykeem A. Simmons is a resident and citizen of Tennessee.

      7.     As stated in his Complaint, Plaintiff alleges serious and permanent

injuries including injuries to thoracic spine, injuries to the lumbar spine, and sprain

of the left knee. (see ¶¶ 13 a – e of Plaintiff’s Complaint).

      8.     Plaintiff has stated in its state court Initial Disclosures, served pursuant

to MCR 2.302(A), regarding the computation of damages pursuant to MCR

2.302(A)(1)(f), that he is “claiming an amount deemed reasonable and fair to a jury,

believed to be in excess of Defendant’s policy limits.”

      9.     Plaintiff’s Complaint alleges an amount in controversy in excess of

$25,000.00 (See Exhibit 1, ¶5); this allegation, in conjunction with the alleged

continuing injuries and resulting damages alleged by Plaintiff, including the claim of

damages in excess of Defendants’ policy limits, satisfy the jurisdictional threshold of

28 USC § 1332(a).

      10.    Based upon the foregoing, Defendant is entitled to remove this action

from state to federal court pursuant to 28 USC § 1332 and § 1446(b).

      11.    Hykeem A. Simmons and Western Express, Inc., dispute Plaintiff’s

allegations as to the aforementioned causes of action, and deny that Plaintiff is

entitled to judgment against them.

      12.    Hykeem A. Simmons and Western Express, Inc., reserve all defenses,

including, but not limited to, those under Rule 12(b) of the Federal Rules of Civil

Procedure and does not waive said defenses by filing of this notice.




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       13.    A copy of this Notice was filed this date with the Clerk of the United

States District Court, Western District of Michigan, filed with the 14th Circuit Court,

Muskegon County Circuit Court, and served via email and First Class U.S. Mail to

Plaintiff’s attorney.

       WHEREFORE, Defendants Hykeem A. Simmons and Western Express, Inc.,

pray that Plaintiff’s action be removed to this Court; that this Court accept

jurisdiction, that said action be placed on the docket of this Court for further

proceedings as though originally instituted in this Court; and for such other and

further relief as may be just and proper.

                                        Respectfully submitted,

                                        SCOPELITIS, GARVIN, LIGHT,
                                        HANSON & FEARY

Dated: October 29, 2021
                                        /s/ Michael J. Tauscher
                                        By: Michael J. Tauscher (P31817)
                                        100 West Big Beaver, Suite 200
                                        Troy, MI 48084
                                        (313) 237-7400
                                        (313) 963-7425 – Fax
                                        mtauscher@scopelitis.com




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                          CERTIFICATE OF SERVICE

       The undersigned states that on October 29, 2021, he electronically filed the
foregoing Notice of Removal with the United States District Court for the Western
District of Michigan; in addition, I have filed the Notice of Removal with the 14 th
District Court, for the County of Muskegon, via Federal Express, and served the
Notice of Removal via email and First Class U.S. Mail upon:

                                Matthew G. Swartz, Esq.
                                Nolan & Shafer, PLC
                                40 Concord Avenue
                                Muskegon, MI 49442
                                mgswartz@wemakeitright.com


                                      Respectfully submitted,

                                      SCOPELITIS, GARVIN, LIGHT,
                                      HANSON & FEARY

Dated: October 29, 2021
                                      /s/ Michael J. Tauscher
                                      By: Michael J. Tauscher (P31817)
                                      100 West Big Beaver, Suite 200
                                      Troy, MI 48084
                                      (313) 237-7400
                                      (313) 963-7425 – Fax
                                      mtauscher@scopelitis.comp




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